      Case 4:14-cv-04480-YGR Document 302 Filed 07/10/19 Page 1 of 3


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16
                               UNITED STATES DISTRICT COURT
17                           NORTHERN DISTRICT OF CALIFORNIA
18                                  OAKLAND DIVISION

19    TWITTER, INC.,                                           Case No. 14-cv-4480-YGR

20                  Plaintiff,                                 JOINT STIPULATION REGARDING
      v.                                                       EXTENSION OF JULY 26, 2019
21                                                             DEADLINE TO RESPOND TO COURT’S
                                                               ORDER TO SHOW CAUSE
      WILLIAM P. BARR, Attorney General of the
22
      United States, et al.
23                                                             Hon. Yvonne Gonzalez Rogers
                    Defendants.
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                                 Joint Stipulation Re Extension of July 26, 2019 Deadline – Case No. 14-cv-4480-YGR
      Case 4:14-cv-04480-YGR Document 302 Filed 07/10/19 Page 2 of 3


 1           Pursuant to Local Rules 6-1 and 6-2—and in accordance with the Court’s June 21, 2019
 2   Order (Dkt. No. 301)—Plaintiff Twitter, Inc. and Defendants William P. Barr, the United States
 3   Department of Justice, Christopher Wray, and the Federal Bureau of Investigation (collectively,
 4   “Defendants”), by and through their respective counsel of record, stipulate as follows.
 5           WHEREAS:
 6           1.      On June 21, 2019, the Court issued an Order to Show Cause Why This Court
 7   Should Not Reconsider Its Order Denying the Government’s Motion for Summary Judgment
 8   (“Order”). Dkt. No. 301. The Court’s Order directed the parties to file responses no later than
 9   July 26, 2019, but indicated that the Court would entertain a later deadline if the parties so
10   stipulated. Id. at 2.
11           2.      On June 27, 2019, the parties met and conferred telephonically regarding the
12   Court’s Order and have since agreed to seek a two-week extension of the Court’s July 26, 2019
13   deadline—to August 9, 2019.
14           3.      Such extension is necessary to accommodate prior case commitments of counsel,
15   as well as to permit the parties time to consider how to proceed in light of the Court’s Order.
16           4.      A proposed order on the parties’ joint stipulation is attached hereto.
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                               Joint Stipulation Re Extension of July 26, 2019 Deadline – Case No. 14-cv-4480-YGR
      Case 4:14-cv-04480-YGR Document 302 Filed 07/10/19 Page 3 of 3


 1   Agreed to and submitted by:
 2    Dated: July 10, 2019                           MAYER BROWN LLP
 3                                                   /s/ Lee H. Rubin
                                                     MAYER BROWN LLP
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 9                                                   ATTORNEYS FOR PLAINTIFF
                                                     TWITTER, INC.
10

11            Pursuant to General Order No. 45, I, Lee H. Rubin, attest that I obtained concurrence in
     the filing of this document from the following signatories.
12

13   Dated: July 10, 2019                           JOSEPH H. HUNT
                                                      Assistant Attorney General
14                                                  DAVID L. ANDERSON
                                                      United States Attorney
15                                                  ANTHONY J. COPPOLINO
                                                      Deputy Branch Director
16                                                  JULIA A. HEIMAN (Bar No. 241415)
                                                      Senior Counsel
17                                                  CHRISTOPHER HEALY
                                                      Trial Attorney
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19                                                     /s/ Julia A. Heiman_______
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                              Joint Stipulation Re Extension of July 26, 2019 Deadline – Case No. 14-cv-4480-YGR
     Case 4:14-cv-04480-YGR Document 302-1 Filed 07/10/19 Page 1 of 2


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                               UNITED STATES DISTRICT COURT
17                           NORTHERN DISTRICT OF CALIFORNIA
18                                  OAKLAND DIVISION

19    TWITTER, INC.,                                Case No. 14-cv-4480-YGR

20                  Plaintiff,                      [PROPOSED] ORDER RE JOINT
      v.                                            STIPULATION TO EXTEND THE JULY
21                                                  26, 2019 DEADLINE TO RESPOND TO
                                                    THE COURT’S ORDER TO SHOW
      WILLIAM P. BARR, Attorney General of the      CAUSE
22
      United States, et al.
23
                    Defendants.                     Hon. Yvonne Gonzalez Rogers
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      [PROPOSED] ORDER ON JOINT STIP TO EXTEND JULY 26, 2019 DEADLINE – Case No. 14-cv-4480-YGR
     Case 4:14-cv-04480-YGR Document 302-1 Filed 07/10/19 Page 2 of 2


 1          Pursuant to the joint stipulation of the parties and good cause having been shown, the
 2   deadline for the parties to respond to the Court’s June 21, 2019 Order to Show Cause (Dkt. No.
 3   301) shall be extended to August 9, 2019.
 4          IT IS SO ORDERED.
 5
      Dated: July __, 2019
 6                                                The Hon. Yvonne Gonzalez Rogers
                                                  United States District Judge
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      [PROPOSED] ORDER ON JOINT STIP TO EXTEND JULY 26, 2019 DEADLINE – Case No. 14-cv-4480-YGR
